Case 1:01-cv-12257-PBS Document 4684-8 Filed 09/05/07 Page 1 of 22




                                             Exhibit 3(k): Pharmacia


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                           Case 1:01-cv-12257-PBS Document 4684-8 Filed 09/05/07 Page 2 of 22




      PLEASE                                                                                                           MAIL TO:
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   Date:          3/0812004
   lime:           4:25PM                                                                                          Page:

   SPRINGFIELD MEDICAl ASSOC INC
   PO BOX219                                                          MEDICARE REMITTANCE NOTICE
   WINDSOR, CT 06095
   Phone: (800)883-5985                                               Provider/Clinic#;                              N51.714
   Check No/EFT Trace No;                          127340082
   Date Paid;                 2/26/2004

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                                                          SHEET METAL 'WORKERS' NATIONAL-HEALTH                                     FUND
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:i                        31. SIG~lUllE OF PIIYSlCIAIIOR SUPPUER
                           . INCWDlNG'DEGAEESOR C1IElEN1W.S
                                                                                                      32.IIAME ANDADDRESSOFFACIUIY WHale SeRVICES WERE
                                                                                                          RENDERED Olollurlw1 h<In. ar_l
                                                                                                                                                                               -33. PH'iBICVIN'S.                SUPPUEFrS      BIUJNG NMIE. AllDRES!l;21P COllE

                                                                                                                                                                               CJ-tA~'CJELL' HONE THERAPIES
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                          . (I DIi'IrCify1b1d th, ~ogme*.Dn thll n:I\IIII"Gl;I
                           •. 0pfIt1o 1hb bm •• d ••• _."     port 1ll0n00f.)
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;!              .'
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                                 ·CAROLYN'J; 'AHRENS
                                                                                 10/13/20~0
                                                                                                                                                                               COLUMBUS,                                   OH            43260-9E.57
                                                                                                                                                                                                                                        I',   (800) 445-3496
                           S1GNED                                                     DATE                                                                                                                                              lilRp, '
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                                  W'PfIOVJ:Il          BYAMACCUOOLDN w;otCAL S81VlCE &m)                                              PLE4SE PRINT OR TYPE
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                     Case 1:01-cv-12257-PBS Document 4684-8 Filed 09/05/07 Page 6 of 22




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                                                                                                           - PAGE


                       ,cictolJ.~r ,13, ,2000                                    CASE il:,


                                                                                PATIENT: " ,
                   :SIIEET MENTAL iloRKERS, 'NATI~NAL                           POLlCY :
                    HEALTH    FUND                                              GROUP NlJJ.l9ER: ,- ,
                    P~o., BQ)(# 1449                                            PD~I C'i'~OLDER:,
                    GDOOLETTSYILLE, TN                   '37070-1449            "U~ECHEMOTHERAPY
 .j.
                                                                       DETAIL INVOICE

                                                                                                           " RJn~
                                                                                                              r:nA,CTED',
                                                                                                           UHIT       ' lb ':'
                     DATE OF S~RVICE                           DESCRIPTION                       QTY,      PRiCE    ' PRICE
                   --------p~--------- -~-------------P._-------
                              -                      '



                   '06/~6/00 - 06i22/00                  GLOVESc~aro LG EA                       4.0      3.46         13.84
                    06"6/00' - 06/22/00                  EXT SET 12" LL (MINI)                   1.0      4.40 ,        1,.40
                    06/16/00 - 06.(22/00,                DISPENSING PHI, MINI                    4.0,     5~85         23.40
                  '06/16/00 ~ 06/22/00,                  CLAV~ HOLESS CHTGH c-1000               2~O' ': 9.61          19.22
                    o6f16/o0 - 06/22/00                  BATTERYAA SIZE                          8'.0   ' 9.73         77.84
                 , 06/16/00 - 06722/00                   C~VER~STER(lCAP)                      , 4'~0'? 0.68            2.72
                 , 06/16/00       - 06/22/00    *** RX #: 292920                                 1,0: ,127.73,      , 1,2!.73
                                         F~UOR'OURACIL 26,55MG/1 SOl'lL
                                     ,NS.9%


                   06/16/00       - 06/22fOO *** RX #: 29292.4                                   2.0        4.68        9.36
                                      , IIACL 0.!ll::-1oML SOY

                   06{16/00 ~ 06/22.100 'u*                    RX It: 292925                     2.0        4.90       ,9.80
                                             HEPARIN'10o U/ML-10ML

                  :06/16/00       - 06/22100, *•• ' R)C fl., 292926                              2.0         0.55       1.10
                                         SYR 10CC LL

                 , 06116/00 - 06/22100                   *** RX fl.: 292927                      2.0       12.09'      24.,18
                                             NDL, HUBEIl ~ITUB22GX3/4"

                 . 06/1-6/00 - 06(o!2JOO *.•.•.
                                             ,RX fh 292928                                       2.0       ,37.64      75.28
                      ,            ACCESS KIT

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                                                                       ***     PLEASE PAY THIS ANOUNT....           ,388.87
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                                     "       PLEASE RE!lIT TO;          Il~AR1\IELL HOME THERAPIES
                                                                         DEPT., L -9657
                                                                         COLuMBus, ON ,43260-,9657
                                                                         042832765




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                                   Case 1:01-cv-12257-PBS Document 4684-8 Filed 09/05/07 Page 7 of 22


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           ~2!;n.D003 oJalr·1l7i1J'0012'" "., MW"-"(7'r                                                 1.13:·08
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                                                         ~D1 TOTALS      7550.81     :0.00      0.-00' ...., 0.00"        '7.550.87,'     '0.00
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                 , . !0003' 0602 MOD                                        392.74       O.DO'                              0.00,'      ,0.00 PR~107. 392.TO+    0.00
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            PT RESP 1.597.'\8       .       '.    CI.A!M TOTALS       ,1597.48           O.O~                               0.00', . 0.00         .    1597.48    0.00
            a.AIJt lHFORtlA.TION FORll'ARDED TO,:      At:£TliEM BCBS NEW IIAl1f'SIfIRE      .                                     0'.00 NET        "

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                   o                     , '                                      .     25.76        0.00 , 0,.00-:'      0.00 ~R-ID7'   25.76' . 0.00
                 720003,1J61l9,0615001.2. 21 AI\   ,                                  205.94         O.Oll· 0_00 ".' 0.00 PR-I07, 205.94        ' 0.00
             0525720003 0609 461500 12 ,63 JU39.5 .'    ,                           1189.:.<!-0     '0'.-00  0.00';".     0.00 PH-lOT ll89.to     0'.00
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            a.AIH       ImDRI1AITDN       FORWARlJED.TO:·       ~EM        BCBS NE't1'JIAliPSHIRE .       '.       ::0,00' NET
                                                                                                                                       ,                                         '.
                                                                                      AOrr 091689C1iEi                      IOI0·~22821.01b5000 ASG'{., KIA 'HA18 MOl
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                     Case 1:01-cv-12257-PBS Document 4684-8 Filed 09/05/07 Page 8 of 22




        Dale;               3108/2004
        Time:                 4:25PM                                                                                                                      ~age:

        SPRINGFIELD                         MEDICAL                  ASSOC   JNC                                                                              '.
        PO BOX 219                                                                                       MEDICARE REMITTANCE NOTICE
        WINDSOR, CT 06095
        Phone: (800)883-5985                                                                             Provider/Clinic#:
                                                                                                                                                           N51714
        Check No/EFT Trace No: 127340082
        Date. Paid:                                2/26/2004
                                                                                                           REDACTED.
        NAME:
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PERF PROVo SERVICE DATES POS NOS PROC                                                       MODS BILLED        ALLOWED    DEDUCT     COINS     GRPIRC-AMT     PAID AMT.

N51714                      2/0212004
                                    2/0212004 11                             001   J3490
                                                                                                      405.00    307.80      0.00       61.56      97.20           246.24
    p~ Respon: 61.56
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                                      Case 1:01-cv-12257-PBS Document 4684-8 Filed 09/05/07 Page 9 of 22




          PLEASE                                                                                                                                     MAIL TO:                                                                                                          APPROVE~           ":;l38-D1lOII
          DO NOT
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                                                                                                                                                       SHEET METAL WORKERS NAT'L
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          AREA                                                                                                                                              GOODLETTSVILLE,                                         TN 37070                                               00111                                      ii:
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          ITTlPICA                                                                                                                                                   "   HEALTH NSURANCE CLAIM FORM
           I. MEDICARE                            MEDICAID                        CH!\MPUS                        CliAMPVh                   GROUP                       FI;CA.            OTHEllI1     •. INSURED'S        I.D.IIIUMBER                                                        PICA         rTTt
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          2. PAllENrSNJlME                    (U>l N.me,             Ftsl f.lomo, MIdIIIEtlil;al1                                 3. P~~&Jl'~T!;!fAlC                              SEX                4.IIIISUFlSD'l;      I'IMAE (l.=l Name, ••• ,lIIame, "f>lldlo k1Illal)


      15. PATIENT'S ADDAeSS (No., S~•• LI                                                                                               f'lil',>nl  'Cl1.'¥n                              FIXl
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                                                                                                                                  6. PATIENT RElATIONSHIP

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                                                                                                                                  II. PATIENT STAlUS
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       c. EIolPLOYER'S NAME                                                                       ,~_        _    ~      .•••              ER ACCIDENT7
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       d.lNSURANCE                    plI\1'INAMe           OR PRDGRIlM              NAAIE                                        10<1. RESERVED      FOR lOCAl           USE                          SHEET                    METAL                     WORKERS 'NAT I L
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      HETZEL                                 PAUL C.                                                                             A68203                                                                       MM I DO ,VY                  MIA I 00 I YV
      19. RESERVED                    FOR lOCAl             use                                                                                                                                        FROM'!                         TO,:
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      21. DIAGNOSIS OR NATURE OF.IU..J'lESSOR                                         INJUFl:IIREUlC               IT'EMS 1,2.3 OR 4 TO .TEI.I24E               BY UNEJ    t                             DyES
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         Otor1lfyIhBllhoslalemenlsD"Ih._                                                           SPRINGFIELD, MEDICAL ASSOC                                                                        i!. PKOHE'                                                                                          •
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    HETZEL" PAUL M.D.                                                                              SPRINGFI~LD, MA 01104-00~                                                                      P.O. BOX 219
    IUIC.#. 039373 03/04/0                                                                                                                                                                        WINDSOR, CT 06095-0000
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         Case 1:01-cv-12257-PBS Document 4684-8 Filed 09/05/07 Page 10 of 22




   Dale:     3/08/2004
   Time:       4:25PM                                                                                             Page:


   SPRINGFIELD MEDICAL ASSOC INC
   PO BOX 219                                                 'MEDICARE REMITTANCE NOTICE
   WINDSOR. CT 06095
   Phone: (800)883-5985                                        Provider/Cli nic#:
                                                                                                                    N51714

   Check No/EFT Trace No;                      1273400l..E D                   rTED·
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   Date Paid: 2126/2004


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PERF PROVo SERVICE DATES           pas   NOS PROC .MODS BILLED
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N51114       2/02/2004 2/0212004   11    001   96410       245.00     243.10         0.00     48.62       UO
N51714       2/02/2004 2/02/2004                                                                                           194.48
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N51114     . 2/0212004 2/0212004                                                                                          104.69
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                           Case 1:01-cv-12257-PBS Document 4684-8 Filed 09/05/07 Page 11 of 22




      PLEASE                                                                                                                          MAIL TO:
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    EIETZEL, PAUL M.D.   SPRINGFIELD,                                                                                                MA 01104-000                                       P.O. BOX 219                                                                                _
    ~IC.# 039373 03/04/0                                                                                                                                                                WINDSOR, CT 06095-0000
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         Case 1:01-cv-12257-PBS Document 4684-8 Filed 09/05/07 Page 12 of 22




  Dale:      310812004
  Time:        4:25PM                                                                                         Page:


  SPRINGFIELD MEDICAL ASSOC INC
  PO BOX 219                                                    MEDICARE REMITTANCE NOTICE
  WINDSOR, CT 06095
   Phone: (800) 883-5965                                         Provider/Clinic#;
                                                                                                                N51.714

  Check No/EFT Trace No:                       127340082
  Date Paid~           2/26/2004


  NAME:
                                                                                                                      ·500


PERF PROVo SERVICE DATES           pas   NOS PROC      MODS BILLED     AlLOWED   DEDUCT   COINS    GRP/RCAMT      PAIDAMT.
N51714       2102/2004 2/02/2004   11    011   J90DO          627.00     89.76    0.00     17;95      537.24           71.81
N51714       2/0212004 2/02/2004   11    011   J9070          88.00      56.43    0.00     11.29      31.57            45.14
N51T14       2/02l2004·2/0~O04     11    010   J1100          50.00      1.00     0.00     0.20       49.00            0.80
N51714       2102120042/0212004    11    003   J7040          36.00      16.92    0.00     3.38       19.08            13.54
N51714       2/03J2004 2/0312004   11    001   J2505         3668.00   2507.50    0.00    501.50     1180.50          2006.00
N51714       2/0312004 2/0312004   11    001   90782          30.00     26.66     0.00     5:33       3.34             21.33
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Case 1:01-cv-12257-PBS Document 4684-8 Filed 09/05/07 Page 13 of 22




                                                  Exhibit 3(1): Phizer


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                    Case 1:01-cv-12257-PBS Document 4684-8 Filed 09/05/07 Page 14 of 22




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Case 1:01-cv-12257-PBS Document 4684-8 Filed 09/05/07 Page 15 of 22




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Case 1:01-cv-12257-PBS Document 4684-8 Filed 09/05/07 Page 16 of 22




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                              Case 1:01-cv-12257-PBS Document 4684-8 Filed 09/05/07 Page 17 of 22




        PlEASE
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        DO NOT
       STAPLE
        IN THIS                                                                                                                                             POBOX 1449
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       9. OlllER       INSURED'SNAME                    [losINam.,           fitsl Nane,         "'Idd'" InIIlo1)
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       b. OllER INSURED'S DATE OF BIIlTH                                               sex                                                                                                                  03; 0"7~ 19::17 .                             1.100                                          l/)
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       d.INSURANcE             PLAN NAME OR PRDGFIAU NAME
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     31. SIGNATURE OF PlflSJClAN OR SUPPUER                                                  j   32. NAME AND ADDRESS OF FACIUTY WHERE StRVlGES                                      WERE
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          lNa.UDING DEGREES OR CRElJEMlAlS                                                           RENDEREO(U 0111••. Ih<m homo ••. alllcsl                                               3:1. PHYSJCW/'S,       SUPPUER'S          BILUNG NAME, AODR SS, ZIP COlli:
          (I artily tholll1a IiliIlomOOlllDllIh.JUV....                                   SPRINGFIELD' MEDICAL ASSOC                                                                                                                                                  ~!':(
    rrrJ,Pf>Ir10 1hIobIir"""om       m""'.pa1l11B'eoI.)                                 1~2150. MAIN ST, STE 1000
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    ~TZEL, PAUL M.D.                                                                      SPRINGFIELD,  MA 01104-000
    uIC.# 039373 03/04/0                                                                                                                                                                     WINDSOR, CT 06095-0000
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         Case 1:01-cv-12257-PBS Document 4684-8 Filed 09/05/07 Page 18 of 22




   Dale: .   3/08/2004
  TIme:        4:25PM                                                                                                        Page:


   SPRINGFIELD      MEDICAL        ASSOC INC
  POBOX219                                                             'MEDICARE REMITTANCE                                   NOTICE
  WINDSOR, CT 06095
  Phone; (BOO)883-5985                                                 Provider/Clinic#:                                       N51.714

   Check No/EFT Trace No:                          127340082
  Date Paid;              2/26/2004


  NAME:
                                                                                                                                     ·500


PERF PROVo SERVICE DATES POS NOS PRoe                       MODS   BILLED            AUOWED    DEDUCT   COINS    GRP/RC-AMT          PAIDAMT.

N51714        2/0212004   2/0212004   11   all      J900Q           627.00             89.76    0.00     17;95      537.24             71.81
N51714        2/0212004   210212004   11   011      J9070            aa.oo            56.43     0.00     11.29       31.57            45.14
N51714        210212004· 210212004    11   010      Jl100           50.00              1.00     0.00     0.20        49.00             0.80
N51714       210212004 2/0212004      11   003      J7040           3EWD              16.92     0.00     3.38        19.08            13.54
N51714       2103/'2004   210312004   11   001     J2505           36B8.0D           2507.50    0.00    501.50      1180.50          2006.00
N51714       210312004 210312004      11   001     00782            30.00             26.66     0.00     5:33        3.34             21.33
PI Respon:     539.65                            Claim Total~:     4519.110      .   2698.27    0.00    539.65     1820.73           2158.62




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                                    Case 1:01-cv-12257-PBS Document 4684-8 Filed 09/05/07 Page 19 of 22


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                                                               SHEET METAL WORKERS' NATION L HEALTH FUND                                                                                                                                                              DATE ISSUED
                                                                P.O. BOX 1449 • GOODLElTSVILLE TN 37070-1449
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                                                                   SHEET METAL WORKER-S~ NATIONAL HEALTH FUND
                                                                                                               P.O.B 1449                "
                                                                                                    Goodlettsville,Ten essee37070.1449                                                                                           ~W+                       PROGRAM
                                                                                               Tall-Free 800-831-4914 Ptiana (615)859-0131
                                                                                                        EXPLANATlON OF BENEFITS
            FRO!"!                                           TO                            CHARGES"                                                           N I'll        CHAR~E5                COVERED                                         AMO!JNT
            DATE                                     DATE                         SLmMITTED                                                           COVER                ALLOWED                 CHARGES                                             , PAID
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                    Case 1:01-cv-12257-PBS Document 4684-8 Filed 09/05/07 Page 20 of 22


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           DEN                              ~ MA02148
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      84REMAlIXSSHEETMETAL
       o BOX 1449
     , OODLETTSVILLE,      TN                       37070-1449




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                Case 1:01-cv-12257-PBS Document 4684-8 Filed 09/05/07 Page 21 of 22


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84 REMA'lK9   SHEET     METAL      WORKERS
  o BOX 1449
    ODLETTSVILLE,                  TN   37070-1449



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                 Case 1:01-cv-12257-PBS Document 4684-8 Filed 09/05/07 Page 22 of 22




                    MEDICARE   NATIONAL    STANDARD    I TERMEDIARY    REMITTANCE   ADVICE
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     --------------~--~------------------~-- -----~----~-----------------------~-----
                                             ~----------~--~-------------------------
     HALLMARK HEALTH SYSTEMS                PROVIDER: 220070          MEDICARE
     100 HOSPITAL ROAD                      ENDING: 1 /31/2002
     MALDEN MA 02148                        BILL TYPE  131

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                                             -----------~-~-~------------~-----------
     NAME:   .                                                    SERVICE: 10/01/2002 THRU 10/31/2002
     HIC:                         PCN: V19070457 1                MEDICARE PAYMENT DATE: 12/03/2002 -
     MRN: H0081528                ICN: 1231539763                 PAT STAT: 01      CLAIM $TAT: 1
     ------~--------~~--~~-----------------~              ----------------------------~----~------
                  CHARGES                             PPS DATA                      PAYMENT DATA

     REPORTED                  2720.00 DRG                             000 REIMB RATE          ~          0.00
     NON-cOVERED                219.00 DRG AMOUNT                     0.00 PROF COMP                      0.00
     DENIED                        0. 00 DRG/OPERATIO                 0.00 PERDIEM                            0
                                         DRG/CAPITAL.     .           0. 00 INTEREST                      O. 00
                                         OUTLIER ( )          "       0.00

                   DAYS
                                        BLOOD DEDUCT                  0.00
     COVERED DAYS                  OOOO TOTAL DEDUCT                  0.00 CONT ADJ ANT              1957.70
     NO~-COVERED DAYS          _.~OOOO CO-INSURANCE                  95.20 NET REIMB' AMT             448.10
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